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Case 3:11-cv-06198-EMC Document 215

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Filed 04/21/16 Page 1 of 2

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

MACY'S, INC. and MACYS.COM, INC.,
Plaintiffs,
V.

STRATEGIC MARKS, LLC and ELLIA
KASSOFF,

Defendants.

 

 

Case No. 11-cv-6198-EMC (lead)
Case No. 15-cv-00612-EMC

NOTICE OF DISMISSAL WITH
PREJUDICE

Judge: Honorable Edward M. Chen

The above-identified parties, through their undersigned counsel, pursuant to Rule

41 of the Federal Rules of Civil Procedure, hereby stipulate to a voluntary dismissal of

the subject action, including all claims and counterclaims, with prejudice. The parties

hereto having entered into a separate Settlement Agreement, this dismissal is entered

-1- Case Nos. 11-6198;15-612 SC

NOTICE OF DISMISSAL WITH PREJUDICE

 
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DATED--Mateh—-2016

SO ORDERED:

 

Hon. Edward M. Chen

DATED: ai]

 

 

United States District Judge

, 2016

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into without the award of costs or attorneys’ fees.

The Court retains jurisdiction to enforce the Settlement Agreement on motion by

AMSTER, ROTHSTEIN & EBENSTEIN LLP

Ye
By: /S/- O

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-2- Case No. 11-6198; 15-612 SC

NOTICE OF DISMISSAL WITH PREJUDICE

 
